

Matter of Garcia v Pickholz (2024 NY Slip Op 05829)





Matter of Garcia v Pickholz


2024 NY Slip Op 05829


Decided on November 21, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 21, 2024

Before: Webber, J.P., Singh, Gesmer, Pitt-Burke, Michael, JJ. 


Index No. 202/19 Appeal No. 3095 Case No. 2024-05683 

[*1]In the Matter of Joseph Garcia, Petitioner, 
vHon. Ruth Pickholz, Respondent.


Joseph Garcia, petitioner pro se.
Letitia James, Attorney General, New York (Charles F. Sanders of counsel), for respondent.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied and the petition dismissed, without costs or disbursements.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 21, 2024








